                   Case
                    Case8:22-cv-02597-DKC
                         8:22-cv-02597-DKC Document
                                           Document 10
                                                    1-2 Filed
                                                        Filed 10/11/22
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                                                                        Page1 1ofof1 5
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

  Maryland Chapter of the Sierra Club; Friends of                    )
 Moses Hall; National Trust for Historic Preservation;               )
     Natural Resources Defense Council, Inc.                         )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. DKC-22-2597
                                                                     )
 Federal Highway Administration; Stephanie Pollack;                  )
      Gregory Murrill; Maryland Department of                        )
         Transportation; James F. Ports Jr.                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Federal Highway Administration,
                                           1200 New Jersey Avenue, SE
                                           Washington, DC 20590




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ridhwan Sediqe
                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             10/12/2022
                                                                                         Signature of Clerk or Deputy Clerk
                   Case 8:22-cv-02597-DKC                   Document 10         Filed 10/12/22        Page 2 of 5
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

  Maryland Chapter of the Sierra Club; Friends of                    )
 Moses Hall; National Trust for Historic Preservation;               )
     Natural Resources Defense Council, Inc.                         )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 22-cv-2597
                                                                     )
 Federal Highway Administration; Stephanie Pollack;                  )
      Gregory Murrill; Maryland Department of                        )
         Transportation; James F. Ports Jr.                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Acting Administrator Stephanie Pollack
                                           Federal Highway Administration
                                           1200 New Jersey Avenue, SE
                                           Washington, DC 20590




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ridhwan Sediqe
                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



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                                                                                CLERK OF COURT


Date:      10/12/2022
                                                                                          Signature of Clerk or Deputy Clerk
                   Case 8:22-cv-02597-DKC                   Document 10         Filed 10/12/22        Page 3 of 5
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

  Maryland Chapter of the Sierra Club; Friends of                    )
 Moses Hall; National Trust for Historic Preservation;               )
     Natural Resources Defense Council, Inc.                         )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 22-cv-2597
                                                                     )
 Federal Highway Administration; Stephanie Pollack;                  )
      Gregory Murrill; Maryland Department of                        )
         Transportation; James F. Ports Jr.                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Gregory Murrill
                                           Maryland Division Administrator, Federal Highway Administration
                                           George H. Fallon Federal Building
                                           31 Hopkins Plaza, Ste. 1520
                                           Baltimore, MD 21201



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ridhwan Sediqe
                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



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                                                                                CLERK OF COURT

              10/12/2022
Date:
                                                                                          Signature of Clerk or Deputy Clerk
                   Case 8:22-cv-02597-DKC                     Document 10          Filed 10/12/22            Page 4 of 5
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District
                                                     __________      of Maryland
                                                                 District of __________

  Maryland Chapter of the Sierra Club; Friends of                       )
 Moses Hall; National Trust for Historic Preservation;                  )
     Natural Resources Defense Council, Inc.                            )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                             Civil Action No. 22-cv-2597
                                                                        )
 Federal Highway Administration; Stephanie Pollack;                     )
      Gregory Murrill; Maryland Department of                           )
         Transportation; James F. Ports Jr.                             )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Federal Highway Administration, Acting Administrator Stephanie Pollack; and
                                           Maryland Division Administrator Gregory Murrill
                                           c/o Civil Process Clerk
                                           U.S. Attorney's Office for the District of Maryland
                                           36 S. Charles Street 4th Fl.
                                           Baltimore, MD 21201


          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Peter J. DeMarco
                                           Natural Resources Defense Council, Inc.
                                           40 West 20th Street, 11th Floor
                                           New York, NY 10011



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                                  CLERK OF COURT


Date:      10/12/2022
                                                                                                 Signature of Clerk or Deputy Clerk
                   Case 8:22-cv-02597-DKC                    Document 10         Filed 10/12/22          Page 5 of 5
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

  Maryland Chapter of the Sierra Club; Friends of                     )
 Moses Hall; National Trust for Historic Preservation;                )
     Natural Resources Defense Council, Inc.                          )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 22-cv-2597
                                                                      )
 Federal Highway Administration; Stephanie Pollack;                   )
      Gregory Murrill; Maryland Department of                         )
         Transportation; James F. Ports Jr.                           )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Federal Highway Administration, Acting Administrator Stephanie Pollack; and
                                           Maryland Division Administrator Gregory Murrill
                                           c/o Attorney General of the United States
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue, NW
                                           Washington, DC 20530-0001


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         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ridhwan Sediqe
                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



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                                                                                 CLERK OF COURT


Date:       10/12/2022
                                                                                             Signature of Clerk or Deputy Clerk
